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EXHIBIT A
 

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C_ATLIN

Policy Number: AED-199467-1211 Previous Policy Number: NEW

PROFESSIONAL AND POLLUTION LIABILITY POLICY
FOR DESIGN PROFESSIONALS

 

 

POLICY DECLARATIONS
INSURER. UNDERWRITING OFFICE PRODUCER
Catlin Insurance Company, Inc. 41990 N. California Bivd., Suite 230 RiskPro Insurance Agency LLC
4330 Post Oak Boulevard Walnut Creek, CA 94596 $01 Waterfall Way
Suite 2325 Suite 407
Houston, TX 77056 Richardson, TX 75080
{A Stock Company]

 

 

 

 

NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY. SUBJECT TO ITS PROVISIONS, THIS
POLICY APPLIES ONLY TO CLAIMS WHICH ARE BOTH FIRST MADE AGAINST THE INSURED DURING
THE POLICY PERIOD AND FIRST REPORTED IN WRITING TO THE COMPANY DURING THE POLICY
PERIOD OR WITHIN 60 DAYS AFTER THE END OF THE POLICY PERIOD SHOWN IN THE DECLARATIONS
UNLESS AN OPTICNAL EXTENSION PERIOD APPLIES. CLAIM EXPENSES ARE INCLUDED WITHIN AND
REDUCE THE LIMIT OF LIABILITY, AND ARE SUBJECT TO ANY DEDUCTIBLE.

PLEASE READ THE ENTIRE POLICY CAREFULLY.

Terms appearing in bold are defined in the Policy.
SEMEN + Named Insured: St Martin Brown & Associates

Principal Address:365 Canal St Ste 2610
New Orleans, LA 70730

 

 

 

 

Policy Period:
Effective Date: 42/09/2010 at 12:07 a.m. (local time at the address stated in Item 1)
Expiration Date: 42/09/2011 at 12:01 a.m. (focal time at the address stated in Item 1)

 

 

Limits of Liability:
A. per claim $ 1,000,000
B. inthe aggregate $2,000,000

 

 

Deductible Arnount:
A. per claim $20,000

B. inthe aggregate $ Not Applicable

 

 

 

Retroactive Date: 08/29/2007

 

 

 

 

 

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Premium Devefopment

 

Premium: $ 20,430.00
Surcharges And Taxes (per attached schedule, if any): $ Not Applicable
Total Premium, Surcharges and Taxes: $ 20,430.00

 

 

egaiurorms and Endorsements Forming a Part of this Policy as of the Inception Date:
See Schedule of Forms and Endorsements

 

 

 

THESE DECLARATIONS, TOGETHER WITH THE COMPLETED AND SIGNED APPLICATION FOR THIS
POLICY, ALL MATERIALS SUBMITTED THEREWITH OR MADE A PART THEREOF AND THE POLICY

FORM ATTACHED HERETO, CONSTITUTE THE POLICY.

This Policy shall not be vatid untess also signed by another duly authorized representative of the Company.

Countersigned: ee 1 (ope -
12/22/2010 by

Date Authorized Representative

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

SCHEDULE OF FORMS AND ENDORSEMENTS

 

 

 

 

 

 

 

Named Insured

St. Martin Brown & Associates

Policy Number Policy Perlod
AED-199467-1211 From 12/08/2010 To 12/09/2011

Forms and Endorsements

DPAEO02 0908 Design Professionals Policy Declarations

DPAEOSO 0908 Professionai And Pollution Llability Policy For Design Professionals
DPAE428 0808 Reliance On Ancther Insurance Company's Application

DPAE119 1108 Louisiana Changes

ABAP400 0507 In Witness Endorsement

 

ABAP 302 1067

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PROFESSIONAL AND POLLUTION LIABILITY —
POLICY FOR DESIGN PROFESSIONALS CATILIILUN

 

 

NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY. SUBJECT TO ITS PROVISIONS,
THIS POLICY APPLIES ONLY TO CLAIMS WHICH ARE BOTH FIRST MADE AGAINST THE
INSURED DURING THE POLICY PERIOD AND FIRST REPORTED IN WRITING TO THE COMPANY
DURING THE POLICY PERIOD OR WITHIN 60 DAYS AFTER THE END OF THE POLICY PERIOD
SHOWN IN THE DECLARATIONS UNLESS AN OPTIONAL EXTENSION PERIOD APPLIES. CLAIM
EXPENSES ARE INCLUDED WITHIN AND REDUCE THE LIMIT OF LIABILITY, AND ARE SUBJECT

TO ANY DEDUCTIBLE.

 

PLEASE READ THE ENTIRE POLICY CAREFULLY.

 

Words and phrases that appear in bold print have special meanings that are defined in Section Ill,
DEFINITIONS.

In consideration of the payment of the premium, and in reliance upon the statements made in the
application, which is incorporated into this policy and forms a part hereof, the Insuring Compary identified
in the Declarations, herein called the “Company,” agrees with the Named Insured as follows:

J. INSURING AGREEMENT

The Company will pay on behalf of the Insured aif sums in excess of the deductible that the
Insured becomes legally obligated to pay as damages and claims expenses as a result of a
wrongful act or pollution condition anywhere in the world, provided that:

A. The claim arising out of the wrongful act or pollution condition must first be made
against the Insured during the policy period or any applicable optional extension
period, A claim Is considered first made when the Insured receives notice of the claim
or when the Insured reports a circumstance In accordance with Section VILB, Reporting

A Circumstance;

B. The claim must be first reported in writing fo the Company in accordance with Section
Vil, Reporting, during the policy period or within 60 days after either the end of the
policy period or the end of the optional extension period, if ane applies;

CG. The wrongful act or pollution condition occurred on or after the Retroactive Date in
Item 5. inthe Declarations; and |

D. No Named Insured, or officer, director, principal, partner, or insurance manager of a
Named Insured, had a basis to believe, as of the inception of the policy, that any
wrongful act or pollution condition asserted in the claim might reasonably be
expected fo be the basis of a claim.

One or more claims arising out of one or more acts, errors or omissions, or a series thereof, that
are logically or causaily related will be treated as a single claim that was first made on the date
the earliest such claim was first made. Only one per claim deductible and only one per claim
limit of flabitity will apply to multiple claims treated as a single claim under this provision.

fl. SUPPLEMENTAL COVERAGES

All payments provided for in this section shall not be subject to any deductible and are in addition
to the limits of lability.

 

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A, Named Insured's Reimbursement

Upon written request by the Named Insured, the Company will reimburse the Named
Insured up to $400 a day, subject to a maximum of $10,000 per claim, for the Named
Insured’s actual loss of earnings for attendance, at the Company's written request, of
any Insured at a trial, hearing, or deposition involving a claim against any Insured.

B. Free Claim Prevention Services

At its sole discretion and expense, the Company will pay for all costs and expenses the
Company incurs in investigating a circumstance reported by the Insured In accordance
with Section VII.B., Reporting A Circumstance, until the date a claim arising out of that
circumstance is made.

Cc. Licensing or Regulatory Board Proceedings Reimbursement.

Upon written request made by the Insured during the policy period, the Company will
reimburse the Insured up to a maximum of $25,000 per policy period for reasonable
and necessary fees and expenses subsequently incurred by counsel in responding to an
investigation, disciplinary hearing or administrative action brought directly against the
Insured by or before a state licensing or regulatory board, provided that the proceeding
is first commenced against the Insured during the policy period and concerns the
performance of the Insured’s professional services.

Dd. ADA, FHA and OSHA Proceedings Reimbursement,

Upon written request made by the Insured during the policy period, the Company will
reimburse the Insured up to a maximum of $25,000 per policy perlod for reasonable
and necessary fees and expenses subsequently incurred by counsel in responding to a
regulatory or administrative action brought directly against the Insured by a government
agency under the Americans With Disabilities Act, the Fair Housing Act or the
Occupational Safety and Health Act, provided that the action is first commenced against
the Instrred during the polfcy perlod and concerns the Insured's professional
services.

E. Peer Review Reimbursement

Upon written request made by the Named Insured during the policy period, the
Company will reimburse the Named Insured for half the cost of a peer review program,
subject fo a maximum of $2,500 per policy period for all such programs, conducted by a
qualified national professtonal society such as fhe American Institute of Architects or the
American Council of Engineering Companies.

Hi. DEFINITIONS

A, Claim means a demand for money or services, naming the Insured, and alleging a
wrongful act or pollution condition.

B. Claim expenses means ail reasonable and necessary fees, costs, and expenses
incurred in the investigation, adjustment, defense and appeal of a claim, if incurred by
the Company, by an attorney designated by the Company, or by the Insured with the
Company's written consent. Such amounts may include premiums on appeal bonds,
attachment bonds or any similar bonds; however, the Company is not obligated to apply
for, secure or furnish any such bond.

 

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Claim expenses do not include the salaries of Company or Insured management or
persannel, or the fees of independent adjusters. Amounts incurred for settlement or
resolution of a claim are not claim expenses.

Clean up costs means expenses incurred in the removal or remediation of soil, surface
water, groundwater, or other contamination, resulting from a pollution condition.

Damages means any compensatory sum the Insured is legally obligated to pay as a
result of a wrongful act or pollution condition. Damages includes clean up costs.
Where permitted by law, damages includes punitive or exemplary damages and the
multiple portion of any multiplied award. Damages also includes liquidated damages, but
only to the extent of liability the Insured would have had in the absence of the agreement
for liquidated damages.

Damages does not include: fines, taxes or penalties imposed on the Insured, any
return, withdrawal or reduction in professional fees; any equitable obligation, including
restitution, disgorgement, or the costs of complying with injunctive relief; or the time and
expense incurred by the Insured in addressing or resolving a claim or circumstance.

insured means the Named Insured and:

1. Ary past or present partner, principal, officer, director, stockholder, regular or
temporary employee, or member of the Named Insured, while acting within the
scope of their duties as such, including any leased personne! under the Named
Insured's direct supervision;

2. A retired partner, principal, officer, director, stockholder, emplayee or member of
the Named insured, while acting within the scope of their duties as a consultant
for the Named Insured;

3. The estate, heirs, executors, administrators, assigns and legal representatives of
any Named Insured or other Insured under paragraph 1. above, in the event of
death, incapacity or bankruptcy, or the spouse or legal domestic partner of any
Named Insured or Insured under paragraph 1. above, but only to the extent the
liability of such Named Insured or {Insured is covered under this policy;

4. Any entity newly formed or acquired by the Named Insured during the policy
perfod in which the Named Insured has more than 50% legal or beneficial

interest. However:

a. The Company will only provide coverage for claims arising out
professional services performed on or after the date of formation oF
acquisition;

b. This coverage will expire within 90 days of such formation or acquisition

or the end of the policy period, whichever fs earlier, unless the Named
Insured provides the Company written details of such newly formed or
acquired entity to the Insurer and pays the additional premium requested
by the Company, If any,

5. Any Named Insured with regard to its participation in a legal entity, including a
joint venture, but solely for the Named Insured's legal liability for the
performance of professional services by the respective legal entity or joint
venture, Insured does not include the legal entity itself, the joint venture itself or
any other entity that is part of either the legal entity or joint venture.

 

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Mediation means the non-binding facilitation by a neutral third party of claim resolution.
Named Insured means the persons or entities specified in Item 1. in the Declarations.

Optional extension period means the periad of time after the end of the policy period
in which a claim, resulting from a wrongful act or pollution condition that occurred
prior to the end of the policy period, may be reported to the Company.

Policy period means the period of time from the Effective Date shown In Item 2, in the
Declarations to the earliest of the termination, expiration or cancellation of the policy.

Pollution condition means an alleged or actual discharge, dispersal, release, seepage,
migration or escape of smoke, soot, furnes, acids, alkalis, toxic chemicals, asbestos,
liquids or gases, waste materials or other irritants, contaminants or pollutants into or upon
land, the atmosphere or any watercourse or body of water, resulting from the
performance of professtonal services for others by the Insured or by any entity or
person for whom the Insured is legally liable. Waste includes materials to be recycled,
reconditioned or réclaimed.

Professional services means those services that the Insured is legaliy qualified to
perform for others in the Insured's capacity as an architect, engineer, land surveyor,
landscape architect, construction manager, planner, interior designer, scientist, technical
consultant, expert witness or as defined by endorsement to the policy.

Professional services includes orcinary technology services provided for others in the
course of professional services described above. Such technology services include the
design, development, programming, analysis, training, use, hosting, management,
support and maintenance of any software, database, internet service, or website; such
technology services do not include the supplying of software or other technology or
electronic products (other than soflware sold or supplied to by the Insured to its client in
connection with the Insured’s provision of other professional services for that client), or
any services with respect to computer or telecommunications hardware.

Professional services also includes services rendered pro bono for others or in the
course of professional peer review for others.

Wrongful act means an alleged or actual act, error, or omission in the performance of
professional services for others by the Insured or by any entity or person for whom the
Insured is legally liable.

IV, EXCLUSIONS

This insurance shall not apply to and the Company will not defend or pay under this policy for
damages or claim expenses arising out of.

A.

Any dishonest, fraudulent, intentionally wrongful, criminal or malicious act, error or
omission committed by or at the direction of any Insured. However, this exclusion shall
not apply to the Company's obligation to defend or pay claim expenses, or to any
Insured who did not commit, participate in or have knowledge of any conduct described
in this exclusion.

Any Insured’s alleged liability under any contract, agreement or express warranty or
guarantee, except where such liability would have existed in the absence of such contract
or agreement.

 

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The design or manufacture of any goods or products which are sold or supplied by any
insured or by others under license from any Insured. This exclusion does not apply to
software sold or supplied by the Insured to its client in connection with the Insured’s

' provision of other professtonat services for that client.

Actual construction, inctuding but not fimited to performing construction, erection,
fabrication, installation, assembly, manufacture, demolition, dismantling, drilling,
excavation, dredging, remediation, or supplying of equipment, parts, or materials (other
than fumishings in course of Interior design services), However, this exclusion will not
apply to such actions performed in the course of sampling or testing procedures

necessary for other professional services otherwise insured by this insurance.

A claim made by any person or entity (or any partner, principal, officer, director,
stockholder, or employee of such enlity):

4. ° Thatis an Insured;

2. That any Insured operates, manages, or controls;

3. That operates, manages, controls, or wholly or partly owns any Insured; or
4. in which any Insured has a legal or beneficial interest in excess of 49%.

Any tnsured’s employment obligations, decisions, practices or policles as an employer,
including but not limited to, any clalm under any worker's compensation, unemployment
compensation, employee benefits, or disability benefits law or similar law.

Actual or alleged discrimination, humiliation, harassment or misconduct, including but not
limited to that which is based on an individual's race, religion, color, gender, sexual
preference or orentation, natlonal origin, age, disability, or marital status. This exclusion
does not apply to an otherwise covered claim brought under the Americans with
Disabilities Act or the Fair Housing Act, or any similar state or local law or ordinance.

Any tisk that would be in violation of the laws of the United States including, but not
limited to, U.S, economic or trade sanction laws or export control laws administered by
the U.S. Treasury, State, anc Commerce Departments (e.g., the economic and trade
sanctions administered by the U.S. Treasury Office of Foreign Assets Control}.

Vv. LIMITS OF LIABILITY AND DEDUCTIBLES

A.

B,

Limits of Liability

1. Subject to paragraph 2. below, the per claim firnit of liability shown under {tem
3.4. in the Declarations is the maximum amount the Company will pay for the
sum of damages and claim expenses for each single claim first made during
the policy pertod.

2. The aggregate limit of liability shown under Item 3.B. in the Declarations is the
maximum amount the Company will pay for the sum of damages and claim
expenses for all claims first made during the policy pertod.

Deductibles

1. Subject to paragraph 2. below, the Named Insured must pay the per claim
deductible shown under Item 4.A. in the Declarations for the sum of damages

 

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and clalm expenses covered under the policy for each single claim first made
during the policy period before the Company has any obligation to pay
damages or claims expenses for that claim. If the Named Insured does not
pay the deductible, any other Insured may pay the deductible fo satisfy this —

_ obligation,

The aggregate deductible shown under Item 4.B. in the Declarations, if any, is —
the maximum amount of total deductibles the Named Insured is obligated to pay
for all claims first made during the policy period.

Mediation and Risk Management Credit’ The deductible obligation of the

Named Insured for a claim may be reduced in one of the following two ways:

a.

If the Company and the Insured had agreed beforehand fo attempt to
resolve the claim at mediation and if the Company and the Insured
resolve the claim by such mediation, the Named Insured's deductible
obligation for such claim will be reduced by 50% subject to a maximum
reduction of $25,000; or

{f the Named Insured provides the Company a written agreement for the
professional services at issue with respect to the claim that was fully.
executed prior to performance of such services and the Insured can —
demonstrate to the Company's reasonable satisfaction the existence of
both of the following conditions, the Named Insured's deductible
obligation for such claim will be reduced by 50% subject to a maximum
reduction of $25,000:

(1) The written agreement contains either (a) a limitation of the
Insured’s fiability to no more than the larger of the fee for the
professional services or $100,000, or (b) a waiver of
consequential damages provision in favor of the Insured; and

(2) Where the services of any other design professfonal, consultant,
contractor or construction manager have been engaged by any
insured in the course of the professional services at issue with
respect to the claim, prior fo (he performance of such services,
the Insured either (a) entered into and preserved fully executed
written agreements with each such provider of services; or (b)
obtained and preserved certificates of insurance evidencing
professional liability and general liability insurance from each
such provider of services.

The potential credits provided for in this section are alternative, not cumulative,
and only one reduction can apply for any single claim.

Number of Insureds, Claimants, or Claims

The fact that a claim is mace against more than one Insured or is made by more than
one claimant will not increase the applicable Jimit of fiability or number of deductibles.
The treatment of certain claims as a single claim under Section 1, Insuring Agreement,
governs what clalms constitute a single claim under this policy, and is not affected by
the number of Insureds or claimants involved in the claim.

 

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Vi. DEFENSE, SETTLEMENT, AND COOPERATION

A,

Defense of the Claim

4.

The Company has the right and duty to defend any claim against the Insured to
which this insurance applles even if any of the allegations are groundless, false,
or fraudulent, Defense counsel may be designated by the Company, or at the
Company's option, by the Insured with the Company's written consent and
subject fo the Company's guidelines. The payrnent of claim expenses reduces
the applicable limit of liability. The Company is not obligated to defend, or to
continue to defend, any claim or to pay any damages or claim expenses, or
any combination thereof, after any applicable limit of lability has been exhausted
by paymenis.

In the event the Insured is entitled by faw to retain independent counsel of its
choosing to defend the Insured at the Company's expense and chooses to do
so, the attorney fee component of claims expenses shall be limited to the
average rate the Company actually pays to counsel it retains in the ordinary
course of business in the defense of similar claims in the community where the
claim is being defended. in addition, the Company may require that the
independent counsel possess certain minimum qualifications, which may include
that the selected counsel have (4) at least five years of civil litigation experience,
including substantial experience defending the subject at issue in the claim, and
(2) errors and omissions coverage. The insured further agrees to require its
independent counsel to provide the Company with information concerning the
claim in a timely manmer.and to respond to the Company’s requests for
information concerning the claim, The Insured may, at any time, freely and fully
waive any right to select independent counsel by a signed consent.

Consent to Settlament

The Company will not settfe any claim without the Named insured’s written consent. If

_ however, the Named Insured withholds consent to a settlement recommended by the

Company, then:

1.

The Company's liability for damages shall not exceed the amount for which the
elalm could have been so settled; and

The Company shall only be liable for 50% of claim expenses in excess of the
deductible incurred after the date the requested consent was withheld, and the
Natned Insured shall be liable for the remaining 50% of claim expenses in
excess of the deductible incurred after such date.

Duties of Insured

As a condition precedent to this insurance, in the event of a claim or reported
cireumstance:

4.

The Insured shall promptly forward to the Company all documents that the
Insured receives in connection with the claim or circumstance, and will direct all
inquiries regarding the clalm or circumstance to the Company or the attomey
designated by the Company.

The Insured shall cooperate fully with the Company and its designees In the
investigation, defense and settlement of any clalm or circumstance, the conduct

 

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of suit or any other proceeding, and In securing and enforcing any right of
contribution, indemnity, or other recovery that the Insured may have; such
cooperation includes but is not limited to, when requested, attending any
proceedings, assisting in securing evidence and obtaining the attendance and
testimony of witnesses, whether in a legal proceeding or in an examination by the
Cormpany; and such cooperation will be without charge to the Company, except
as provided otherwise in Section ILA, Named Insured's Reimbursement

3. The Insured shall not voluntarily make any payment, assume or admit any
fiability, settle, or incur any expense, without the prior written consent of the
Company.

4. The Insured shall obtain the Company's wrilten consent before exercising any

" ight, assuming any obligation, or making any agreement, with respect to any
dispute resolution mechanism or process, including but not limited to rejecting or
demanding arbitration.

Fraud in Claim

If the Insured shall commit fraud in submitting of a claim or information with respect to a
clalm, as regards amount or otherwise, this insurance shall become void with respect to
that insured for such claim and for other claims from the date of the first fraudutent
submission.

VIL REPORTING

A.

Reporting a Claim

As a condition precedent to coverage under this insurance, in the event of a claim, the
insured must do the following:

1. Report the claim to the Company in writing as scon as reasonably possible
during the policy perlod, or any applicable optional extension period, or within
60 days after the end of the policy period. Reporting should be sent to the
Campany at the address stated on the Declarations; and

2. Provide a copy of the claim, if in writing, and specify in the report the names and
addresses of the Insured reporting the claim and the persons making a claim
against the Insused, when the claim was made, and the wrongful act or
pollution condition that ls the subject of the clatm, as well as any other relevant
facts or allegations known to the Insured;

Reporting a Circumstance

if, during the policy pertod, the insured becornes aware of a circumstance that may
reasonably be expected to be the basis of a claim and if the Insured, during the policy
period, provides the Company with a written report of the circumstance, to the address
stated on the Declarations, containing:

1. When and how the Insured first became aware of such circurnstance;

2. Any wrongful act or polfution condition asserted or believed to be at Issue,
and the professional services involved in the circumstance;

3. What happened and the dates and entities involved; and

 

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4. The nature of any alleged or potential injury or darnages;

then any claim that is subsequently made against the Insured arising out of such
circurnstance will be deemed to have been made on the date the Company received the

written report of the circumstance.

Vif, «= CONDITIONS

A,

First Named Insured As Sole Agent

The first Named Insured in {tem 1. in the Declarations will be the sole agent and will act
on behalf of all of the Insureds for the purpose of giving any notices, any amendments to
or cancellation of the poticy, for the completing of any applications and the making of any
statements and representations, for the payrnent of premium and the receipt of any return
premium that may become due under this policy, for the payment of the deductible and
the exercising or declining to exercise any right under this policy, including the purchase
of any optional extension period.

Subrogation

In the event of any payment of any ¢laim under this policy, the Company will be
subrogated in the amount of such payment to all of the Insured’s rights of recovery
against any person or organization. The Insured must do everything reasonably
necessary to secure these rights and rust do nothing affer a claim is made to jeopardize
them. The Company hereby waives such subrogation rights against any Insured under
this policy, and also against the Insured’s client to the extent that the Insured had, prior
to the claim or circumstance, a written agreement to waive such rights.

Premium

All premium charges under this policy will be computed according to the rutes, rates, and
rating plans which apply at the Effective Date of the policy period stated in Item 2. in the

Declarations.
Examination And Audit

if the Company requests, the Insured agrees to allow the Company to examine and audit
the Insured’s financial books and records. The Company may do this at any time during
the policy period or up ia three years after the end of the policy period.

Action Against The Company

No action may be brought against the Company concerning this policy unless, as a
condition precedent to such action, the Insured has fully complied with all the terms of
this poticy, and the amount of the Insured’s obligation to pay has been decided either by
final judgment against the Insured after actual contested trial, or by written agreement
among the Jnsured, the Company, and the claimant. No person or entity has any right
under this policy to include the Company in any action against the Insured to determine
the Insured's liability, nor will the Company be brought info such action by any Insured
or any Insured’s representative.

Bankruptcy Cr Insolvency

The bankruptcy or insolvency of the Insured or the [nsured’s estate wil not relieve the
Company of any of its obligations under this policy.

 

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Changes

None of the provisions of this policy will be waived, changed, or modifted except by
written endorsement Issued by the Company to form a part of this polloy. Notice to any
agent of the Company or knowledge possessed by any such agent or any other person
will mot act as a waiver or change in any part of this policy and will not prevent the
Company from asserting any rights under the provisions of this policy.

Assignment

The interests of the lwsured under this policy may not be assigned without the
Company's express written consent.

Other Insurance

This policy is excess over the deductible and any other valid and collectible insurance,
self insurance, or indemnification agreement available to the Insured, whether such other
insurance or agreement is stated to be primary, pro rata, contributory, excess, contingent,
self-insured or otherwise, unless such other insurance is written specifically excess of this
policy by reference in such other policy to the policy number in this policy's Declarations.
When any other insurance has a duty to defend a claim, the Company will have no duly
to defend the claim; if no such other insurance defends the clalm, the Gompany will
have the right but not fhe duly to defend the claim.

Cancellation/Nonrenewal

1. This policy may be cancelled by the first Named Insured by giving the Company
written notice stating when, thereafter, such cancellation will be effective. If the
first Named Insured cancels on any anniversary of the Effective Date of the
policy period stated in Item 2. in the Declarations, the earned premium will be
calculated on a pro rata basis. {f the first Named Insured cancels on any other
date, the unearned premium will be calculated on a standard short rate basis for
the year of cancellation and on a pro rata basis for any subsequent year.

2, This policy may be cancelled by the Company for fraud, material
misrepresentation or nanpayment of premium or may be nonrenewed by the
Company for any reason by sending written notice fo the first Named Insured at
the last address known to the Company. The Company will provide written
notice at least GO days before cancellation or nonrenewal is to be effective,
except for nonpayment of premium, in which case the Company will provide 10
days written notice prior to cancellation. The earned premium will be calculated
on a pro rala basis.

3. Notice of cancellation or nonrenewai will state the effective date and, in the case
of cancellation, the reason for cancellation. The policy period will end on that
date. If notice is mailed, proof of mailing will be sufficient notice.

IX. OPTIONAL EXTENSION

A.

If this Policy is cancelled or nonrenewed by the Company or by the Named tnsured for
any reason other than fraud, material misrepresentation, or nonpayment of premium,
then the Named Insured designated in Item 1. of the Declarations shall have the right,
upon payment of an additional premium set forth below, to an extension of the coverage
granted by this policy with respect to any claim first made against any Insured and
reported In writing to the Company during the period of time purchased after the end of

 

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the policy period corresponding to the Additional Premium paid, but only with respect to
any wrongful act or pollution condition occurring on or after the Retroactive Date
designated in lem 5. of the Declarations and before the effective date of cancellation or
nonrenewal, The offer of renewal terms, conditions or premiums different from those in
effect prior to renewal shail not constitute a cancellation or nonrenewal for purposes of

this provision.

The additional premium for the optional extension period shall be fully earned at
inception and based upon ihe rates for such coverage in effect at the beginning of the
policy term and shall be one (1) year at 400% of the annual premium; twe (2) years at
450% of the annual premium; and three (3) years at 185% of the annual premium,

As a condition precedent to the right to purchase the optional extension period, the
total premium for this policy must have been paid, The right to purchase the optional
extension period shail terminate unless written notice together with full payment of the
Additional Premium for the optional extension period is given to the Insurer within sixty
(60) days after the effective date of cancellation or nonrenewal. If such notice and
Additional Premium payment is not so given to the Company, there shall be no right to
purchase the optional extension period.

In the event of the purchase of the optional extension period, the entire Additional
Premium for the optional extension period shall be deemed earned at its

commencement.

The limit of tiability for the optional extension period shall be part of and not in addition
to the lirnit of lability of the Company for the policy period.

The optional extension period will not apply to any pending claim or proceedings, any
paid claim, any professional services rendered after the effective date of the optional
extension perlod or claims that are covered under any subsequent insurance
purchased by the Insured, or that would be covered by such insurance but for
exhaustion of the limits of liability applicable to such claims.

X. LIBERALIZATION

if the Company adopts and files any revision to this form during the policy perfod that would
broaden coverage without additional premium, the broadened coverage will apply to this policy as
of the date the filed revision is effective in the state shown in the mailing address of the Named
Insured, but. it will not apply to claims that were first made prior to such effective date of the

revision.

 

 

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

RELIANCE ON ANOTHER INSURANCE COMPANY’S
APPLICATION

 

This endorsement modifies insurance provided under the following:
PROFESSIONAL AND POLLUTION LIABILITY POLICY FOR DESIGN PROFESSIONALS

in consideration of the premium charged for the policy, itis understood and agreed that the Company has

relled upon the staternents in the Houston Casualty Company

Form Number: AE 002 02/04 , including materials attached thereto, completed by the Named Insured
designated in Item 1. in the Declarations and signed and dated on 12/07/2010 by Joseph St. Martin

and such application is made a part of this insurance policy and operates as the Company's own

application.

All other terms, conditions and exclusions remain unchanged.

This endorsement changes the policy to which it is attached and Is effective on the date issued unless
otherwise stated,

(The information below is required only when this endorsement is issued subsequent to .
preparation of the policy.)

 

 

Endorsement Effective: Policy No.: Endorsement No,
Insured: Premium:
Insurance Company:

Authorized Signature:

 

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THIS ENDORSEMENT GHANGES THE POLIGY. PLEASE READ IT CAREFULLY.

LOUISIANA CHANGES

 

i. tis hereby agreed that Section Vill, J. Cancellation/Nonrenewal is deleted in its entirety and replaced
with the following:

J. Cancellation/Nonrenewal

Cancellation
4. The first Named Insured shown in the Declarations may cance] this policy by mailing or
delivering to us advance written notice of cancellation.
2, Notice Of Cancellation :
a. Cancellation Of Policies In Effect For Fewer Than 60 Days Which Are Not Renewals
If this policy has been in effect for fewer than 60 days and is not a renewal of a policy we
issued, we may cancel this policy for any reason, subject fo the following:
(1} Cancellation for nonpayment of premium
We may cancel this policy by mailing or delivering to the first Named Insured written
notice of cancellation at feast 10 days before the effective date of cancellation.
(2} Cancellation for any other reason
We may cance! this policy by mailing or delivering to the first Named Insured written
notice of cancellation at feast 60 days before the effective date of cancellation.
b. Cancellation Of Renewal Policies And New Policies In Effect For 60 Days Or More

If this policy has been in effect for 60 days or more, or is a renewal of a policy we

issued, we may cancel only for one or more of the following reasons:

(1) Nonpayment of premium;

(2) Fraud or material misrepresentation made by you or with your knowledge with the
intent to deceive in obtaining the policy, continuing the policy, or in presenting a
claim under the policy;

(3) Activities or omissions by you which change or increase any hazard insured
against;

(4) Change in the risk which increases the risk of loss after we Issued or renewed this
policy including an increase in exposure due to regulation, legislation, or court
decision;

(5) Determination by the Commissioner of Insurance that the continuation of this policy

- would jeopardize our solvency or would piace us in violation of the insurance
laws of this or any other state;

(6) The insured's violation or breach of any policy terms or conditions; or

(7) Any other reasons that are approved by the Commissioner of Insurance.

We will mail or deliver written notice of cancellation under Paragraph A 2.b., to the

first Named Insured at feast:

(a) 10 days before the effective date of cancellation if we cancel for nonpayment
of premium; or

(b) 30 days before the effective date of cancellation if we cancel for a reason
described in Paragraphs A.2.b (2) through (7) above.

3. We will mail or deliver our notice to the first Named Insured's last mailing acldress known to

us.
4. Notice of cancellation will state the effective date of cancellation. The policy period will end
on that date.
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5. Premium Refund

If this policy is cancelled, we will return any premium refund due, subject to Paragraphs

C.5,a., C.6.b.,C.5.c., C.5.d., C.5.e. and C.5.f. The cancellation will be effective even if we

have not made or offered a refund.

a. {fwe cancel, the refund will be pro rata.

b. If the first Named Insured cancels, the refund may be less than pro rata, and will be
retumed within 30 days after the effective date of cancellation,

ct. Weill send the refund to the first Named Insured unless Paragraph C.5.d. or C.4.e.
applies.

d, ifwe cancel based on Paragraph B.2. of this endorsement, we will return the premium
due, if any, within 10 days after the expiration of the 10-day period referred to in B.2.c. If
the policy was financed by a premium finance company, or if payment was advanced by
the insurance agent, we will send the return premium directly to such payor.

e. With respect to any cancellation of the Commercial Auto Coverage Part, we will send the
return premium, if any, to the premium finance company if the premium was financed by
such company.

f. When return premium payment is sent to the premium finance company or the agent of
the Insured, we will provide notice to you, at the time of cancellation, that a return of
uneamed premium may be generated by the cancellation.

6. If notice is mailed, proof of mailing will be sufficient proof of notice.

Nonrenewal

1. if we decide not to renew this policy, we will maif or deliver written notice of nonrenewal to the
first Named Insured, mortgageholder, pledgee or other known person shown in the policy to
an insurable interest in any loss, at least 60 days before its expiration date, or its anniversary
date if it is a policy written for a term of more than one year or with no fixed expiration date.

2. Weneed not mail or deliver this notice if:

a. We or another company within our insurance group have offered to issue a renewal
policy; or

b. You have obtained replacement coverage or have agreed In writing to obtain
replacement coverage.

3. Any notice of nonrenewal will be mailed or delivered to the first Named (Insured,
morigageholder, pledgee or other known person shown in fhe policy to have an insurable
interest in any loss, at the last mailing address known to us. Jf notice is mailed, proof of
mailing will be sufficient proof of notice.

4. Such notice to the insured shall include the insured's.loss run information for the
period the policy has been in force within, but not to exceed, the last three years of
coverage.

itis hereby agreed that Section Il). DEFINITIONS, J, Pollution condition is deleted in its entirety and
replaced with the following;

J. Pollution condition means an alleged or actual discharge, dispersal, release, seepage,
migration or escape of smoke, soot, fumes, acids, alkalis, toxic chernicals, liquids or gases, waste
materials or other irritants, contaminants or pollutants into or upon land, the atmosphere or any
watercourse or body of water, resulting from the performance of professional services for others
by the Insured or by any entity or person for whorn the Insured js fegally liable. Waste includes
materials to be recycled, reconditioned or reclaimed.

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permission
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li. tis hereby and agreed that Section Vill. CONDITIONS B. Subrogation is deleted in its entirety and

replaced with

the following:

B. Subrogation

In the event of any payment of any claira under this policy, the Company will be
subrogated up to the amount the Company has paid out under the policy. The Insured
must do everything reasonably necessary fo secure these rights and must do nothing
after a claim is made to jeopardize them. The Company hereby waives such
subrogation rights against any Insured under this policy, and also against the Insured’s
ctient to the extent that the Insured had, prior to the claim or circumstance, a written
agreement to waive such rights.

IV, itis hereby and agreed that Section VIH. CONDITIONS &. Action Against The Company is deleted in
its entirety and replaced with the follawing:

E, Action Against The Gompany

A person or entity may bring an action against the Company including, but not limited to
an action fo recover on an agreed settlement or on a final judgment against the Insured;
but the Company will not be fiable for damages that are not payable under the terms of
this policy or that are in excess of the applicable limits of insurance. An agreed
setlioment means a settlement and release of fiability signed by the Company, the
Insured and the claimant or the claimant's representative.

All other terms, conditions and exclusions remain unchanged,

This endorsement changes the policy to which it Is attached and is effective on the date issued unless

otherwise stated

(The informatio

n below is required only when this endorsement is Issued subsequent to

preparation of the policy.)

Endorsement Effective: Policy No.: Endorsement No.

 

 

 

Insured: Premium:
Insurance Company:
Authorized Signature:
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permission

 
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IN WITNESS ENDORSEMENT

GATLIN INSURANCE COMPANY, INC.

' ADMINISTRATIVE OFFICE: 3340 Peachtree Road N.E.
Tower Place 100
Suite 2950
Atlanta, GA 30326

STATUTORY HOME OFFICE: 1330 Post Oak Boulevard
Suite 2325
Houston, TX 77056

It is hereby agreed and understood that the following In Witness Clause supercedes any and all other
- In Witness clauses in this policy.

All other provisions remain unchanged.

IN WITNESS WHEREOF, the Company has caused this policy to be executed and attested, and, if
required by state law, this policy shall not be valid unless countersigned by a duly authorized
representative of the Company.

 

RAR am ——-

 

 

Richard S. Banas Steven C, Adams
President Secretary |

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NOTICE TO POLICYHOLDERS

 

FRAUD NOTICE

Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly
presents false information In an application for insurance is guilty of a crime and may be subject to fines and
confinement in prison.

STATE SPECIFIC PROVISIONS

Arkansas Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance is
gulity of a crime and may he subject to fines and confinement in prison.

Colorado itis unlawful te knowingly provide false, incomplete, or misleading facts or Information to
an insurance company for the purpose ef defrauding or. attempting to defraud the
company. Penalties may Include imprisonment, fines, denial of insurance and civil
damages. Any insurance company or agent of an insurance company who knowingly
provides false, incomplete, or misleading facts or information to a policyholder or claimant
for the purpose of defrauding or attempting to defraud the policyholder or claimant with
regard to a settlement or award payable for insurance proceeds shall be reported to the
Colorado Division of Insurance within the Department of Regulatory Agencies,

District of WARNING: itis a crime to provide false or misleading information to an insurer for the

Columbia purpose of defrauding the insurer or any other person. Penalties include imprisonment
and/or fines. In addition, an insurer may deny Insurance benefits if false information
materially related to a claim was provided by the applicant.

Florida Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a
statement of claim or an application containing any false, incomplete, or misleading
information is guilty of a felony of the third degree.

Hawaii For your protection, Hawali Jaw requires you to be informed that presenting a fraudulent
claim for payment of a loss or benefit is a crirne punishable by fines or imprisonment, or
both.

Kentucky Any person who knowingly and with intent to defraud any insurance company or other

person files an application for insurance containing any maierially false information or
conceals, for the purpose of misleading, information concerning any fact material thereto
commits a fraudulent insurance act, which is a crime.

Louistana Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to fines and confinement in prison.

Malne It is a crime to knowingly provide false, incomplete or misleading information to an
: insurance company for ihe purpose of defrauding the company. Penalties may include
imprisonment, fines, or denial of insurance benefits.

Maryland Any person who knowingly and willfully presents a false or fraudulent claim for payment of
a loss or benefit or who knowingly and willfully presents false information in an application
for insurance Is guilty of a crime and may be subject to fines and confinement in prison.

New Jersey Any person who Includes any false or misleading Information on an application for an
insurance policy is subject to criminal and civil penatties,

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New Mexico

New York

Qhioa

Oklahoma

Oregon

Pennsylvania

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NOTICE TO POLICYHOLDERS

    
 

  

Any person who knowingly presents a false or fraudulent claim for payment of a loss or
benefit or knowingly presents false information in an application for insurance Is guilty of a
crime and may be subject to civil fines and criminal penalties.

All commercial Insurance forms, except as provided for automobile insurance:

Any person who knowingly and with intent to defraud any insurance company or other
person files an application for insurance or statement of claim containing any materially
false information, or conceals for the purpose of misleading, information concerning any
fact material thereto, commits a fraudulent insurance act, which is a crime, and shall also
be subject to a civil penalty not to exceed five thousand dollars and the stated value of the

claim for each such violation.

Automobile insurance forms

Any person who knowingly makes or knowingly assists, abets, solicits or conspires with
another to make a false report of the theft, destruction, damage or conversion of any
motor vehicle to a law enforcement agency, the department of motor vehicles or an
insurance company, commits a fraudulent insurance act, which is a crime, and shall also
be subject to a civil penalty not to exceed five thousand dollars and the value of the
subject motor vehicle or stated claim for each violation.

Fire Insurance: Any person who knowingly and with intent to defraud any insurance
company or other person files an application for insurance containing any false
information, or conceals for the purpose of misleading, information concerning any fact
material thereto, commits a fraudulent insurance act, which is a crirne. The proposed

" insured affirms that the foregoing information Is true and agrees that these applications

shall constitute a part of any policy issued whether attached or not and that any willful
concealment or misrepresentation of a material fact or circumstances shall be grounds to

rescind the Insurance policy.

Any person who, with intent to defraud or knowing that he is facilitating a fraud against an
insurer, submits an application or files a claim containing a false or deceptive statement Is

guilty of Insurance fraud,

WARNING: Any person who knowingly, and with intent fo injure, defraud or deceive any
insurer, makes any claim for the proceeds of an insurance policy containing any false,
incomplete or misleading information is guilty of a felony.

Any person who, with INTENT TO DEFRAUD or knowing that he is facilitating a fraud against an
Insurer, submits an application or files a claim containing a false or deceptive statement MAY BE

guilty of insurance fraud."

Any person who knowingly and with intent to defraud any insurance company or ather
person files an application for insurance or statement of claim containing any materially
false information or conceals for the purpose of misleading, information concerning any
fact material thereto commits a fraudufent insurance act, which is a crime and subjects

such person to criminal and civil penalties.

Auto: Any person who knowingly and with Intent to injure or defraud any insurer files an
application or claim containing any false, incomplete or misleading information shall, upon
conviction, be subject to imprisonment for up to seven years and the payment of a fine of

up to $15,000.

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NOTICE TO POLICYHOLDERS

 
 
 

Prrerto Rico Any person who knowingly and with the Intention to defraud includes false information in
an applteation for insurance or file, assist or abet in the filling of a fraudulent claim fo
obtain payment of a loss or other benefit, or fies more than one claim for the same loss or
damage, commits a felony and If found guilty shall be punished for each violation with a
fine of no less than five thousands dollars ($5,000), not to exceed ten thousands dollars
($10,000); or imprisoned for a fixed terrn of three (3) years, or both. If aggravating
clroumstances exist, the fixed jail term may be increased to a maximum of five (5) years;
and if mitigating circumstances are present, the jail term may be reduced to a minimum of
two (2) years.

Rhode Island Any person who knowingly presents a false or fraudulent clalm for payment of a loss or
benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to fines and confinement in prison.

Tennessee Itis a crime to knowingly provide false, incomplete or inisleading information to an
insurance company for the purpose of defrauding the company. Penalties include
imprisonment, fines and denial of insurance benefits.

Virginia {tis a crime to knowingly provide false, Incomplete or misleading information to an
insurance company for the purpose of defrauding the company. Penalties include
imprisonment, fines and denial of insurance benefits.

Washington {tis a crime to knowingly provide false, incomplete or misleading information to an
insurance company for the purpose of defrauding the company. Penalties include
imprisonment, fines and denial of Insurance benefits.

West Virginia Any person who knowingly presents a false or fraudulent claim for payment of a loss or

benefit or knowingly presents false information in an application for Insurance is guilty of a
crime and may be subject to fines and confinement in prison.

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NOTICE TO POLICYHOLDERS
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PRIVACY POLICY

Catlin insurance group (the “Companies*], believes personal information that we collect about our customers,
potential customers, and proposed insureds [referred to collectively in this Privacy Policy as “customers*] must be
treated with the highest degree of confidentiality. For this reason and in compliance with the Title V of the
Gramm-Leach-Bliley Act (‘GLBA"], we have developed a Privacy Policy that applies to all of our companies. For
purposes of our Privacy Policy, the ferm “personal information’ includes all information we obtain about a
customer and maintain in a personally identifiable way. In order to assure the confidentiality of the personal
information we callect and in order to comply with applicable laws, all individuals with access to personal
information about our customers are required to follow this policy.

Our Privacy Promise

Your privacy and the confidentiality of your business records are important fo us. Information and the analysis of
information is essential to the business of insurance and oriticai to our ability to provide fo you excellent, cost-
effective service and products. We understand that gaining and keeping your trust depends upon the security
and integrity of our records concerning you. Accordingly, we promise that:

4. We will follow strict standards of security and confidentiality 1o protect any Information you share with us or ,
information that we receive about you; .

2. We.will verify and exchange information regarding your credit and financial status only for the purposes of
underwriting, policy administration, or risk management and only with reputable references and
clearinghouse services;

3. We will not collect and use information about you and your business other than the minimum amount of
information necessary to advise you about and deliver to you excellent service and products and to
adrninister our business;

4. We will train our employees to handle information about you of your business in a secure and confidential
manner and only permit employees authorized to use such information to have access to such information,

5. We will not disclose information about you or your business to any organization outside the Catlin insurance
group of Companies or to third party service providers unless we disclose fo you our intent to do so or we are
required to do so by law;

6. We will not disclose medical information about you, your employees, or any claimants under any policy of
insurance, unless you provide us with written authorization to do so, or unless the disclosure is for any
specific business exception provided in the law; ,

7. We will attempt, with your help, to keep our records regarding you and your business complete and accurate,
and will advise you how and where to access your account information [untess prohibited by law], and will
advise you how to correct errors or make changes to that information; and

8. We will audit and assess our operations, personnel and third party service providers to assure that your

privacy is respected.
Collection and Sources of Information

We collect from a customer or potential customer only the personal information that is necessary for [a]
determining eligibility for the product or service sought by the customer, (b] administering the product or service
obtained, and [c] advising the customer about our products and services. The information we collect generally

comes from the following sources:

Submission — During the submission process, you provide us with information. about you and your
business, such as your name, address, phone number, e-mail address, and other types of personal

identification information;

Quotes — We collect information to enable us fo determine your eligibility for the particular insurance
product and to determine the cost of such insurance to you. The information we collect will vary with the
type of insurance you seek;

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NOTICE TO POLICYHOLDERS
ee)

Transactions — We will maintain records of all transactions with us, our affiliates, and our third party
service providers, including your insurance coverage selections, premiums, billing and payment
information, claims history, and other information related to your account;

Claims — If you obtain insurance from us, we will-maintain records related fo any claims that may be
made under your policies. The investigation of a claim necessarily involves collection of a broad range of
information about many issues, some of which does not directly involve you, We will share with you any
facts that we collect about your claim unless we are prohibited by law from doing so. The process of
claim investigation, evaluation, and settlement also involves, however, the collection of advice, opinions,
and comments from many people, including attorneys and experts, fo aid the claim specialist in
determining how best to handle your claim. in order to protect the tega! and transactional confidentiality
and privileges associated with such opinions, comments and advice, we will not disclose this information

fo you; and

Credit and Financial Reports — We may receive information about you and your business regarding your
credit, We use this information to verify information you provide during the submission and quote
processes and to help underwrite and provide to you the most accurate and cost-effective insurance
quote we can provide. ,

Retention and Correction of Personal Information

We retain personal information only as tong as required by our business practices and applicable faw. If we
become aware that an item of personal information may be materially inaccurate, we will make reasonable effort

to re-verify its accuracy and correct any error as appropriate.

Storage of Personal Information

We have in place safeguards to protect data and paper files containing persenat information.

Sharing/Disclosing of Personal Information

We maintain procedures to assure that we do not share personal Information with an unaffiliated third party for
marketing purposes untess such sharing is permitted by law. Personal information may be disclosed to an
unaffilafed third party for necessary servicing of the product or service or for other normal business transactions

as permitted by law.

We do not disclose personal information to an unaffiliated third party for servicing purposes or joint marketing
purposes unless a contract containing a confidentlallty/non-disclosure provision has been signed by us and the
third party. Unless a consumer consents, we do not disclose “consumer credit report” type information obtained
from an application or a credit report regarding a customer who applies for a financial product to any unaffiliated
third party for the purpose of serving as a factor in establishing a consumer's eligibility for credit, insurance or
employment. "Consumer credit report type information” means such things as net worth, credit worthiness,
lifestyle information (piloting, skydiving, etc.] solvency, etc. We also do not disclose to any unaffiliated third party
@ policy or account number for use in marketing. We may share with our affillated companies Information that
Telates to our experience and transactions with the customer.

Policy for Personal Information Relating to Nonpublic Personal Health Information

We do not disclose nonpublic personal health information about a customer unless an authorization Is obtained
from the customer Whose nonpublic personal information is sought to be disclosed, However, an authorization
shall not be prohibited, restricted or required for the disclosure of certain insurance functions, including, but not
limited to, claims administration, claims adjustment and management, detection, investigation or reporting of
actual or potential fraud, misrepresentation or criminal activity, underwriting, policy placement or issuance, loss
control and/or auditing.

Access to Your Information

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'- NOTICE TO POLICYHOLDERS
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Our employees, employees of our affiliated companies, and third party service providers will have access {to
information we collect about you and your business as is necessary to effect transactions with you. We may also
disclose information about you to the following categories of person or entities:

Your independent Insurance agent or broker,

An independent claim adjuster or investigator, or an attorney or expert Involved in the claim;

Persons or organizations that conduct sclentific studies, including actuaries and accountants;

An insurance support organization, .

Another insurer if to prevent fraud or to properly underwrite a tisk;

Astate insurance department or ofher governmental agency, if required by federal, state or local Jaws; or

Any persons entitled to receive information as ordered by a summons, court order, search warrant, or
subpoena. ‘

Violation of the Privacy Policy

Any person violating the Privacy Policy will be subject fo discipline, up to and including termination.

For more information or to address questions regarding this privacy statement, please contact your broker,

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NOTICE TO POLICYHOLDERS

     
   

U.S. TREASURY DEPARTMENT'S OFFICE OF -
FOREIGN ASSETS CONTROL (“OFAC”)

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions
of your policy. You should read your policy and review your Declarations page for complete
information on the coverages you are provided.

This Policyholder Notice provides information concerning the possible impact on your insurance
coverage provided under your policy due to directives issued by OFAC. Please read this Policyholder

Notice carefully.

OFAC administers and enforces economic and trade sanctions based on US foreign policy and
national security goals based on Presidentlal declarations of “national emergency." OFAC has
identified and listed numerous: ;

Foreign agents

Front organizations
Terrorists

Terrorist organizations
Narcotics traffickers

as "Specially Designated Nationals and Blocked Persons.” This list can be found on the United States
Treasury's web site — http://www _treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or

entity claiming the benefits of this insurance has violated US sanctions law or is a Specially

Designated National and Blocked Person, as identified by OFAC, this insurance will be considered a

blocked or frozen contract and all provisions of this insurance will be immediately subject to OFAC.

When an insurance policy is considered to be such a blocked or frozen contract, neither payments nor
_ premium refunds may be made without authorization from OFAC. Other limitations on the premiums

and payments may also apply.

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NOTICE TO POLICYHOLDERS

CLAIMS NOTICE

All claims must be reported to Catlin at:

PNCL N10 0509

' Catlin

3346 Peachtree Road NE
Suite 2950
Atlanta, GA 30326

E-mail: catlinclaims.cp@catlin.com

Phone: 404-443-4910\888-443-4910

Fax: . 404-443-4912 -

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